Case: 4:19-cv-01638-SNLJ Doc. #: 22 Filed: 10/10/19 Page: 1 of 1 PageID #: 341




                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

ROBERT FERNANDEZ,                                )
                                                 )
          Plaintiff,                             )
                                                 )
V.                                               )       Case No. 4:19-cv-01638-SNLJ
                                                 )
ST. LOUIS COUNTY, MISSOURI,                      )
                                                 )
             Defendant.                          )

                                              ORDER

      The matter is before the Court on Plaintiffs Motion for Preliminary Injunction as

to the Vagrancy Ordinance of St. Louis County, Missouri, Count III of Plaintiffs

Complaint.

      Plaintiff brings a facial and as-applied challenge under the due process clause of

the Fourteenth Amendment.

      The parties consent to the granting of a preliminary injunction as to Sections

716.080 and 716.090 of the St. Louis County Revised Ordinances

      IT IS HEREBY ORDERED that St. Louis County, Missouri is enjoined from

enforcement of its Vagrancy Ordinance No. 3729, enacted 10-28-1965, and codified at

Sections 716.080 and 716.090 of the St. Louis County Revised Ordinances.

      Dated this       I(} ~    day of October, 2019.
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                                              STEPHEN N. LIMBAUGH,
                                                                     ,
                                              UNITED STATES DISTRICT COURT
